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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                             Civil No. 3:16-md-2738-MAS-RLS
   MARKETING, SALES PRACTICES
   AND PRODUCTS LIABILITY
   LITIGATION

   This document relates to:
   Darcy Vollmer and Robert Vollmer v.
   Johnson & Johnson, et al.
   Case No. 3:24-cv-04453


                                     NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that the Short Form Complaint and Jury Demand was filed on April 2, 2024 on behalf

  of Plaintiffs Darcy Vollmer and Robert Vollmer.


                                                    /s/ Brittany S. Scott
                                                    Brittany S. Scott
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 2, 2024, a copy of the foregoing NOTICE OF FILING was
  filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by
  operation of the Court’s electronic filing system to all parties indicated on the electronic filing
  receipt. Parties may access this filing through the Court’s system.



                                                       /s/ Brittany S. Scott
                                                       Brittany S. Scott

                                                       BEASLEY ALLEN CROW METHVIN
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